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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

UNITED STATES OF AMERICA                      '
                                              '
VS.                                           '          NO. 1:19-CR-70
                                              '          Judge Marcia Crone
KHRISTAL FORD                                 '

                           ELEMENTS OF THE OFFENSE

       You are charged in Count One of the Information with a violation of 18 U.S.C. §§

242 and 2, Deprivation of Rights Under Color of Law.

       The essential elements which must be proven, beyond a reasonable doubt, to

establish the 18 U.S.C. §§ 242 and 2 violations are:

      (1)     That you acted under color of law;

      (2)     That you aided and abetted Tavoris Bottley in the deprivation of the inmate’s
              right protected or secured by the Constitution or the laws of the United States,
              to be free from cruel and unusual punishment by one acting under color of
              law;

      (3)     That you acted willfully;

      (4)     That the offense resulted in bodily injury to the inmate.

                                           Respectfully submitted,

                                           JOSEPH D. BROWN
                                           UNITED STATES ATTORNEY


                                           /s/ Michael A. Anderson
                                           MICHAEL A. ANDERSON
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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was
delivered by electronic delivery to defendant's attorney, John McElroy, on the 14th day of
May, 2019.

                                         /s/ Michael A. Anderson
                                         MICHAEL A. ANDERSON
